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Default - Rule 55A                                                                     (CO 40 Revised-6/2019)




           UNITED STATES DISTRICT AND BANKRUPTCY COURTS
                                       FOR THE DISTRICT OF COLUMBIA

CAMPAIGN LEGAL CENTER



                        Plaintiff(s)
                                                                       Civil Action: 20-cv-00809-ABJ
         v.


FEDERAL ELECTION COMMISSION

                       Defendant(s)


      FEDERAL ELECTION COMMISSION
RE:


                                                DEFAULT
         It appearing that the above-named defendant(s) failed to plead or otherwise defend this action though

duly served with summons and copy of the complaint           on        03/25/2020          , and an affidavit

on behalf of the plaintiff having been filed, it is this 28th day of         May           , 2020 declared

that defendant(s) is/are in default.



                                                             ANGELA D. CAESAR, Clerk


                                                     By:               /s/Jackie Francis
                                                                          Deputy Clerk
